                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                  NO. 5:18-CR-00501-D

UNITED STATES OF AMERICA

                    V.


ANTHONY HARRIS

                                  ORDER OF FORFEITURE

          WHEREAS, pursuant to the entry of a Memorandum of Plea Agreement by the

defendant on March 10, 2020, and all other evidence of record, the Court finds that

the following property is hereby forfeitable pursuant to 18 U.S.C. § 924(d)(l), made

applicable to this proceeding by virtue of 28 U.S.C. § 2461(c), as a firearm and

ammunition involved or used in a knowing violation of 18 U.S.C. §§ 922(g) and 924,

to wit:

                •   Ruger, Model SR40C, .40 caliber handgun, and

                •   Any and all .40 caliber or other related ammunition;

          AND WHEREAS, by virtue of said Memorandum of Plea Agreement, and all

other evidence of record, the United States is now entitled to possession of said

personal property, pursuant to Fed. R. Crim. P. 32.2(b)(3);

          It is herebyORDERED,ADJUDGED, and DECREED:

          1.        That based upon the Memorandum of Plea Agreement as to the

defendant, and all other evidence of record, the United States is hereby authorized to

seize the above-stated personal property, and it is hereby forfeited to the United

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States for disposition in accordance with the law, including destruction, as allowed

by Fed. R. Crim. P. 32.2(b)(3).   In accordance withFed.R. Crim. P. 32.2(b)(4)(A), this

Order shall be final as to the defendant upon entry.

       2.   That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is directed to incorporate a reference to this Order of

Forfeiture in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B).

       SO ORDERED. This _lk_ day of          Och~            ,2020.




                                   United States District Judge




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